Case 1:21-cv-04916-ARR-TAM Document 8 Filed 10/27/21 Page 1 of 3 PageID #: 46




October 27, 2021

Via ECF Only
The Honorable Allyne R. Ross
U.S. District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
          Re:    Justin Vasquez v. East Rockaway Center LLC, et al.
                 EDNY Case No.:      1:21-cv-04916
                 LJAA File No.:      0406.1001.NY00
Dear Judge Ross:

        In accordance with Section III.A. of Your Honor’s individual motion practices and rules,
please allow the following to serve as Defendants’ letter seeking a pre-motion conference with the
Court, to discuss Defendants’ bases for a motion for partial dismissal pursuant to F.R.C.P.
12(b)(6). This employment discrimination matter stems from the termination of Justin Vasquez,
then-Assistant Director of Environmental Services for Lynbrook. In February of 2020, Mr.
Vasquez was purportedly diagnosed with a torn left rotator cuff, for which he allegedly had
surgery. Plaintiff’s employment was terminated on September 2, 2020, after his leave was
exhausted and he failed to return to work.

          Plaintiff’s Complaint asserts the following eight causes of action as against all defendants:

     1.   FMLA – interference
     2.   FMLA – retaliation
     3.   ADA – failure to provide reasonable accommodation
     4.   ADA – retaliation
     5.   NYSHRL – failure to engage in interactive process
     6.   NYSHRL – retaliation
     7.   NYCHRL – failure to engage in interactive process
     8.   NYCHRL – retaliation

          For the reasons set forth below, Defendants respectfully request a pre-motion conference.

I.        PLAINTIFF’S ADA CLAIMS SHOULD BE DISMISSED AS AGAINST THE
          INDIVIDUAL DEFENDANTS

        It is well-settled that there is no individual liability under the ADA. See Darcy v. Lippman,
356 F. App’x 434, 437 (2d Cir. 2009) (summary order) (“[T]he ADA and ADEA… do not provide
for actions against individual supervisors.”); Garcia v. S.U.N.Y. Health Scis. Ctr. of Brooklyn, 280
F.3d 98, 107 (2d Cir. 2001) (“[N]either Title II of the ADA nor § 504 of the Rehabilitation Act
provides for individual capacity suits against state officials.”); Spiegel v. Schulmann, 604 F.3d 72,
79 (2d Cir. 2010) (“[I]n the context of employment discrimination, the retaliation provision of the
ADA...cannot provide for individual liability.”); Gomez v. N.Y.C. Police Dep't, 191 F. Supp. 3d

                                      61 Broadway, Suite
                                                     1 2000, New York, NY 10006 212.233.7195 Fax 212.233.7195
                                      www.lewisjohs.com
                                                                                         New York City | Long Island
Case 1:21-cv-04916-ARR-TAM Document 8 Filed 10/27/21 Page 2 of 3 PageID #: 47




293, 302-03 (S.D.N.Y. 2016) (“[T]here is no individual liability under the ADA.”); Lane v.
Maryhaven Ctr. of Hope, 944 F. Supp. 158, 161-62 (E.D.N.Y. 1996) (collecting cases finding that
there is no individual liability under the ADA based on Second Circuit's decision in Tomka v.
Seiler Corp., 66 F.3d 1295 (2d Cir. 1995), which held there is no individual liability under a similar
provision of Title VII).

      Accordingly, Plaintiff’s third and fourth causes of action should be dismissed as against
Yiddy Eisen and Andrzej “Andrew” Urbaniak.

II.       THE ALLEGATIONS IN PLAINTIFF’S COMPLAINT WITH RESPECT TO THE
          INDIVIDUAL DEFENDANTS ARE INSUFFICIENT TO IMPUTE LIABILITY TO
          THOSE DEFENDANTS ON THE REMAINING CLAIMS AGAINST THEM

      The only substantive allegations in Plaintiff’s Complaint which make specific reference to
“Yiddy” and “Andrew” are as follows:

      •   Upon information and belief, Yiddy (last name unknown) is a resident of the State of New
          York and at all times relevant herein, acted as an agent for Lynbrook such that his actions
          are attributable to Lynbrook under the doctrine of respondeat superior. Pl. Comp. at ¶9.

      •   Upon information and belief, Andrew (last name unknown) is a resident of the State of
          New York and at all times relevant herein, acted as an agent for Lynbrook such that his
          actions are attributable to Lynbrook under the doctrine of respondeat superior. Pl. Comp.
          at ¶10.

        Plaintiff fails to allege any direct involvement by Eisen, Urbaniak, or any other individual,
in Lynbrook’s alleged violations. Plaintiff did not plead that either of the Individual Defendants
had substantial control over the aspects of employment alleged to have been violated i.e. whether
the Individual Defendants (1) had the power to hire and fire Plaintiff, (2) supervised and controlled
Plaintiff's work schedule or conditions of employment, (3) determined the rate and method of
payment, and (4) maintained Plaintiff's employment records.

        It is respectfully submitted that these allegations are insufficient to sustain his claims
against the Individual Defendants. The case of Sutter v. Dibello, 2019 WL 4195303 (E.D.N.Y.
2019) is instructive. In that case, plaintiff Dawn Sutter commenced an action against her employer,
the New York State Unified Court System, and five of her supervisors and managers, asserting
multiple causes of action, including claims of sex, race, and disability discrimination.

       In analyzing FMLA claims against an individual supervisor, the Sutter court dismissed
FMLA claims in a similar setting. In doing so, the Sutter court noted Plaintiff’s failure to plead
any direct involvement in the denial of FMLA leave by any of the Individual Defendants, along
with Plaintiff’s insufficient allegations from which to infer that Fisher or any of the other
Individual Defendants controlled in whole or in part plaintiff's rights under the FMLA. A similar
outcome should follow here. See also Noia, 93 F. Supp. 3d 13, 17 (E.D.N.Y. 2015)(“[T]he Court
need not decide whether the Plaintiff has adequately alleged a basis for individual liability against
Dr. Puopolo under the FMLA. This is because the Plaintiff fails to allege direct involvement by

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Case 1:21-cv-04916-ARR-TAM Document 8 Filed 10/27/21 Page 3 of 3 PageID #: 48




Dr. Puopolo in the alleged FMLA violation by the Defendant. This is fatal to the Plaintiff's
proposed FMLA claim against Dr. Puopolo.”); Ziccarelli v. N.Y. Univ. Hosps. Ctr., 247 F. Supp.
3d 438, 446 (S.D.N.Y. 2017) (“[T]o survive a motion to dismiss, [the p]laintiff . . . must simply
plead that the proposed [individual defendant employers] had substantial control over the aspects
of employment alleged to have been violated.” (internal quotation and citation omitted)).

IV.    PLAINTIFF’S CLAIMS FOR FAILURE TO ACCOMMODATE UNDER ADA,
       NYSHRL AND NYCHRL FAIL

       A plaintiff pleads a claim of discrimination on a failure to accommodate theory under the
ADA, NYSHRL, and NYCHRL where she alleges: (1) that she was a person with a disability
within the meaning of the statute; (2) her employer is a covered entity; (3) the plaintiff could
perform the essential functions of her job with an accommodation; and (4) the defendant refused
to make such an accommodation. Thomson, 2015 WL 5561209, at *18 (citing McMillan v. City of
New York, 711 F.3d 120, 125-26 (2d Cir. 2013)) (articulating ADA pleading standard and finding
that single allegation did not give rise to plausible inference of failure to
accommodate); Fernandez v. Windmill Distrib. Co., 159 F. Supp. 3d 351, 366 (S.D.N.Y.
2016) (applying similar standard to NYSHRL and NYCHRL disability discrimination claims).

        Here, there is no allegation in Plaintiff’s Complaint that he was able to perform the essential
functions of his job with an accommodation. In fact, Plaintiff alleges that he “could not perform
the essential functions of his position without reasonable accommodation.” See Pl. Comp. at ¶61.

       As such, Plaintiff’s third, fifth, and seventh causes of action should be dismissed.1

       The parties thank the Court for its time and attention to this matter.

Very truly yours,

Kevin D. Clinton
Kevin D. Clinton
kdclinton@lewisjohs.com
New York City Office

KDC/gd

cc:    Via ECF and Electronic Mail Delivery
       Jonathan@shalomlawny.com
       Jonathan Shalom Esq.
       SHALOM LAW, PLLC
       Attorneys for Plaintiff

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  Lynbrook’s Answer is currently due October 29, 2021. Lynbrook respectfully requests that the
time for Lynbrook to answer the complaint be held in abeyance pending resolution of the instant
application.
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